 

Case 8:03-Cr-00330-DOC Document 2 Filed 12/31/03 Page 1 of 2 Page |D #:64

A E SUMMARY

UsA v. sco'rr KoHN case No. sA ca 03- ?)‘9°
NOTE: All item are to be completed. Infémiation not applicable or »

 

 

l. Alias _Names:

2. E Indictrnent Ei\lnformation
a. lnvestigative §g`énc§&. FBI DEA,IRS,

Ciktoms, etc. )..__ ;'_’U

IBI § 051-4

3 Oignse charged_asa; n:',°,$§ielo
a. ill Misdemégagnor EEE§inor ffense ElPetty Oi`fense
§ m;;-¢'

b Date of offense B°E’ 1i1nin
=r; ¢:: 5
c. County` rn Which i"i§r§`t oi’fe
occurred: Orjng_é - m

 

 

a date unknown to 12/ ld/OS

d'. The crimes charged are alleged to have been
committed inc (Check ALL~tliat apply)

L'.| Los Angeles l.'.] Ventura

E Orange [.'.l Santa Barbara
El Riverside ij San Luis Obispo
l.:l San Bemardino El Other

4. Citation of Cffense: 18 U.S.C.§ 37l, l_§ Q.S.C. §§ 2320l 2

5. 'l`his defendant is charged inc EAll Counts
Cl ()nly Counts

6. N/A A complaint was previously filed
on
ease nO.
charging

 

 

The complaint l’_`l Is still pending
l:l Was dismissed on

7 . Has an Infomiation or lndictment involving this defendant
and the same transaction or series of transactions previously
filed and dismissed before trial'? No

l:l Yes (Case No. )l

8. N/A This is the
The superseded case was previously filed on ,
€HS€ !`lO.

 

_ The superseded case:
_ D ls still pending before Judge/Magistrate Judge

 

[] Was previously dismissed on

CR 72,(5/98)

superseding charge (i.'e., first, second).

cAsi: §EMR§;MN '5 2604
l,,._

M°- 1 milam/it

¢¢= v 1 ~ shall be indicated as '.‘N/A "

  
 
 
   
 
 

 

suant to Section lO. l of General Order 224, criminal
y b_e related if a previously filed Ini`orrnation or
A§nt and the present case:

7 op G(€gil\\-‘§ ;:l§i‘i e out of the same conspiracy, common scheme,

1 ‘¢ action, series of transactions or events; or

b. involve one or more defendants in common, and would _
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges.

Related case(s), if any, (Must attach Notice of Related
Case):

 

10. N/A 'l`his defendant is designated as "High Risk" per 18
U.S.C. § 3164(a)(2) by the U.S. Attorney.

ll. N[A This rs designated a “Special Case" per 18 U. S. C

§ 3166(b)(7).
12.‘1)31¢0£1311111 §§€l$"
E Male .Female
5 U.S. Citizen U Alien `

13. ls defendant a juvenile? DYes No

lf yes, should the matter UYes DNo
be sealed?

. 14. Will sixteen (16) days or more be required to present .
governments evidence in the case in chief? 4
~ El Yes No

15. Is an interpreter required? E No
D Yes (list language and/or dialect)

 

ld. The area of substantive law that will be involved in this case

includes:
Ut'man'cial institution fraud El public corruption
L'.lgovemrnent fraud Cl tax offenses

. Denviromnental issues l'_'l mail/wire fraud

other Conspiracy/'I`ratiicking in Counterfeit Goods

El\lTER Gt`i_lClVlS

 

 
 

 

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... r'. w g z a".~ fn 3 ‘ ~ ' c;z~»;'§'.;§'; ‘
15. DEFENDANT lS‘_l‘_{Ql IN CUS'EODY:
ia. Date and.n`me cf arrest on complaint °
b. Posted borid at complaint_ level on ` in tli.e.‘ amount of ‘ " `° ~
c. psA supervision? owes mNo "'§~'!~"?
d. ____ Is a Fugitive. _ ii if f§r:':"
b e: _______ ls on bailor release from another disuict. Show distriet:
f. _,_X__ Has not been arrested but will be notified by Summons to appear.
g. ,_____ Warrant requested: v
nEFENDANT is ;i_~; cUsToDY:
a. Place of incarceratibn: DState D Federal
b. Name of lnstitutign`: s z
¢i:».>:.‘=_z.=.
c. If Federal, U.S. l\/larshal's Registration Number:
d. . ____ Solely on this charge. Date and time of arrest
e. m On another conviction: UState UFederal [JWrit of Issue
f. _ 'Awaiting trial on other charges: US_tate UFedcral
Name of Court:
16. Date transferred to_ Federal Custody:
17. This person/proceeding is trailsferred from another district per FRCrP: 1320 1321 C`.MO
18. Determinations as to excludable time prior to filing Indictn'lent/Information
(Explain): '
19. DA'I`E: December 30. 2003 , 20: SIGNATURE: M\
` ' `Assist§‘¢'\t Uniteél States Attomey
\ 21: PRlNT NAME THOMAS S. McCONVILLE.
','.
Rev. 5/98 § m ;;’M’

Sama A¢\a

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